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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

  GAGA OPPORTUNITY 2501 NW 79
  STREET, LLC, a Florida limited
  liability company,                                                   CASE NO.:

         Plaintiff,
  v.

  THE UNITED STATES OF AMERICA,

        Defendant.
  ___________________________________/

                                            COMPLAINT

         Plaintiff, GAGA OPPORTUNITY 2501 NW 79 STREET, LLC, a Florida limited

  liability company (“Plaintiff” or “Gaga”), hereby sues Defendant, THE UNITED STATES OF

  AMERICA, and alleges as follows:

                                   JURISDICTION AND VENUE

         1.       This is an action for damages exceeding the sum of Fifteen Thousand Dollars

  ($15,000.00).

         2.       This is an action for breach of contract, negligent misrepresentation, and breach of

  26 CFR 601.104 with regard to four (4) parcels of real property in Miami-Dade County, Florida

  that the United States Internal Revenue Service sold to Gaga at a public auction sale

  conducted under the authority of 26 U.S.C. 6331, 6335, and related regulations.

         3.       This Court has subject matter jurisdiction pursuant to 28 USC Code Section 1331

  because this civil action arises under the laws of the United States. Specifically, the Internal

  Revenue Service's public auction sale which underlies this civil action was held under the

  authority of 26 U.S.C. 6331, 6335, and related regulations, and this action asserts a count

  against the Internal Revenue Service for breach of 26 CFR 601.104.


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         4.      Plaintiff, Gaga, is a Florida limited liability company doing business in Miami-

  Dade County, Florida.

         5.      Defendant, the UNITED STATES OF AMERICA, is a party to this action by

  virtue of the actions of the Internal Revenue Service of the United States federal government (the

  “IRS”).

                                    GENERAL ALLEGATIONS

         6.      In early 2019, the IRS advertised via a Notice of Public Auction Sale (the

  “Notice of Public Auction”) that four (4) parcels of property which had been seized for

  nonpayment of internal revenue taxes due from taxpayer Everett Painting Company, Inc.

  (“Everett Painting”) would be sold at public auction as provided by Internal Revenue Code

  Sections 6331, 6335, and related regulations. A true and correct copy of the Notice of Public

  Auction Sale is attached hereto as Exhibit “A”.

         7.      The four (4) parcels that the IRS advertised for sale in the Notice of Public

  Auction which are the subject of this litigation are as follows:

                 7.1.     “Parcel 1”- 2,050 sq. ft. retail outlet store building built in 1950 situated

  on 0.09 acre more commonly known as 2531 NW 79th St., Miami, FL 33147. Folio No. 30-

  3110-048-0090. Lot 13 LESS SIS' & LOT 14, Block 1. EVERGLADE TERRACE, Plat Book

  19, Page 25, Miami-Dade County, FL.

                 7.2.     “Parcel 2”- 0.13 acre vacant, commercial lot more commonly known as

  Folio No. 30-3110-048-0100. Minimum bid: $25,500.00. Lot 15 & 16 LESS S15' & ALL LOT

  29, Block 1, EVERGLADE TERRACE, Plat Book 19, Page 25, Miami-Dade County, FL.

                 7.3.     “Parcel 3”- 2,283 sq. ft. office building built in 1949 situated on 0.5 acre

  more commonly known as 2501 NW 79th St., Miami, FL 33147. Folio No. 30-3110-048-0110.


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  Lot 17 TO 28 INC LESS S15', Block I, EVERGLADE TERRACE, Plat Book 19, Page 25,

  UNITY OF TITLE TO DADE COUNTY DATED 12-23-68, Miami-Dade County, FL.

                 7.3.1. “Parcel 4”- 0.05 acre vacant lot more commonly known as 2550 NW 79th

  Ter., Miami, FL 33147. Folio No. 30-3110-048-0120.

         8.      Under the subsection “Title Offered” in the Notice of Public Auction, the IRS

  stated that “only the right, title and interest of the Taxpayer [Everett Painting] in and to the

  property will be offered for sale.”

         9.      The IRS further stated in the Notice of Public Auction that the IRS “will sell [the

  properties] separately or in the aggregate. Aggregate minimum bid: $354, 100.00.”

         10.     The IRS offered to sell Parcels 1, 2, 3, and 4 (collectively, “the Parcels”)

  individually or in the aggregate (a.k.a. as an “assemblage”) because the Parcels are contiguous to

  each other and are collectively bounded by Northwest 79th Terrace to the North, NW 25th Ave

  to the East, and State Road 934/NW 79th Street to the South. An aerial photograph depicting the

  locations of the four (4) Parcels is attached hereto as Exhibit “B”.

         11.     On May 14, 2019, the IRS held its public auction sale of the Parcels.

         12.     At the public auction, the IRS allowed bidding on an individual parcel basis and

  on an assemblage basis (meaning all four (4) contiguous Parcels would be sold at one price). A

  true and correct copy of the Mail-In Bid for Public Auction Sale form giving auction protocol

  specifics is attached hereto as Exhibit “C”.

         13.     As Gaga’s “assemblage price” bid of $800,000.00 was significantly higher than

  the total amount bid on a per parcel basis, Gaga’s bid was accepted by the IRS and Gaga

  purchased the four (4) Parcels.




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         14.     After Gaga paid $800,000.00 for the assemblage of four (4) Parcels, the IRS

  issued Gaga Form 2435 Certificate of Sale of Seized Property- Notice to Purchaser or

  Purchaser’s Assignee ( “Form 2435”) for each of the four (4) Parcels. True and correct copies of

  Forms 2435 for each of the Parcels are attached hereto as Exhibit “D”. The issuance of these

  documents confirms the IRS’ belief and representation that the taxpayer owned the four (4)

  Parcels at the time of the auction.

         15.     Form 2435 (Exhibit “D”) states that “[i]f the real property is not redeemed within

  the time prescribed in section 6337 of the Internal Revenue Code, a deed will be issued. . . in and

  to the real property,” meaning that Gaga would become the legal title holder of all four (4)

  Parcels if the taxpayer, Everett Painting, did not pay off all encumbrances on the Parcels within a

  certain time period.

         16.     Form 2435 also contains a certification in which Paul Reed, Property Appraisal &

  Liquidation Specialist for the IRS, states that “I certify that I sold at public sale the property

  described below, seized for nonpayment of delinquent Internal Revenue taxes due from” the

  taxpayer, Everett Painting. Therefore, by the IRS’ own certification, the IRS confirmed that all

  four (4) Parcels were sold to Gaga at public sale on May 14, 2019.

         17.     Soon after Gaga purchased the assemblage of four (4) Parcels, Gaga learned that

  prior to the IRS public auction, Parcel 2 had already been sold by the Miami-Dade County Tax

  Collector pursuant to a tax deed sale under Chapter 197.502 of the Florida Statutes on May 9,

  2019, five (5) days before the IRS sold Parcels 1, 2, 3, and 4 to Gaga as an assemblage. In other

  words, the IRS knowingly sold the taxpayer’s interest in Parcel 2 even though the taxpayer had

  no ownership interest in Parcel 2 at the time of the IRS auction.




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         18.     The sale of Parcel 2 by the Miami-Dade County Tax Collector prior to the IRS

  public auction completely destroyed the assemblage Gaga purchased from the IRS because

  Parcel 2 splits the assemblage in half, leaving Gaga with parcels to the east and west of Parcel 2.

  See Exhibit “B” for the aerial photograph depicting how Parcel 2 destroys the assemblage by

  dividing the remaining Parcels in half.

         19.     As the IRS had no interest or title to Parcel 2, the IRS had no right to sell Parcel 2

  to Gaga, nor did the IRS have the right to sell Parcels 1, 2, 3, and 4 as an assemblage to Gaga and

  accept Gaga’s $800,000.00 assemblage bid. However, the IRS proceeded with the sale anyway.

         20.     Moreover, the IRS had actual notice from the Clerk of the Courts for Miami-Dade

  County that Parcel 2 was subject to a tax deed sale prior to the IRS public auction, as USPS

  Certified Mail shows that the IRS received notice of the tax deed sale on March 25, 2020, one-

  and-a-half (1.5) months before the IRS sold Parcel 2 along with Parcels 1, 3, and 4 to Gaga as an

  assemblage. A true and correct copy of the USPS Certified Mail receipt showing receipt by the

  IRS is attached hereto as Exhibit “E”.

         21.     As soon as Gaga learned that the IRS had no right to sell Parcel 2 at public

  auction whatsoever, let alone the right to sell Gaga an assemblage of properties that did not exist,

  Gaga brought the sale of Parcel 2 to the IRS’ attention to inquire as to how the sale of Parcel 2

  affected Gaga’s purchase of the four (4) Parcels as an assemblage for $800,000.00. The IRS

  never complied with Gaga’s request for additional information. Instead, by letter dated October

  22, 2019, the IRS confirmed that Parcel 2 had already been sold prior to the IRS’ public auction,

  acknowledged its error, and offered to refund Gaga’s money for Parcel 2 only in the amount of

  $57,000.00. A true and correct copy of the letter from the IRS to Gaga dated October 22, 2019 is

  attached hereto as Exhibit “F”


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         22.     The IRS’ offer of $57,000.00 in its October 22 letter is deficient and fails to

  adequately reimburse Gaga for the IRS’ error for numerous reasons.

         23.     First, the IRS’ offer of $57,000.00 did not reimburse Gaga for the premium Gaga

  paid to purchase an assemblage of contiguous properties that the IRS had no right to sell, as the

  assemblage did not exist at the time of the IRS’ public auction.

         24.     As Parcel 2 splits the remaining parcels in half, not only was the assemblage

  completely destroyed, but the values of Parcels 1, 3, and 4 were diminished because the parcels

  were worth far more as contiguous parcels of land with the potential to be developed as one

  larger parcel than they are worth now as individual parcels.

         25.     Each parcel is now only worth its individual minimum bid value which in sum is

  far less than Gaga’s assemblage bid of $800,000.00, or the IRS would have accepted bids on a

  per parcel basis instead of Gaga’s winning assemblage bid.

         26.     Furthermore, Gaga had a buyer willing and able to purchase the contiguous

  assemblage for $1.4 million. As the IRS sold Gaga the four (4) Parcels as a contiguous

  assemblage for $800,000.00, and the parcels are no longer an assemblage, the IRS’ error caused

  Gaga to suffer $600,000.00 in lost profits.

         27.     On May 1, 2020, Gaga made written demand upon the IRS for return of the

  $800,000.00 paid by Gaga for the assemblage of four (4) Parcels that the IRS never had the right

  to sell as an assemblage, let alone the right to sell Parcel 2 at all. In exchange, the IRS would

  retain the rights, titles, and interests to the surplus of the four (4) Parcels, putting the IRS in

  the same position before it improperly and unlawfully sold the Parcels to Gaga as an assemblage.

         28.     To date, the IRS has failed to respond.

         29.     Gaga has engaged the law firm of SANCHEZ-MEDINA, GONZALEZ,


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  QUESADA,        LAGE,     GOMEZ       &    MACHADO          LLP     (“SMGQ      Law”)     to    bring

  the above-styled action and has agreed to pay its attorneys reasonable fees and costs for their

  services.

         30.     All conditions precedent to the filing of this action have been performed, satisfied,

  or waived.

                              COUNT I - BREACH OF CONTRACT

          31.    GAGA readopts and realleges paragraphs 1 through 30 as if fully set forth herein.

         32.     This is an action for breach of contract.

         33.     On May 14, 2019, the IRS and Gaga entered into a contract for the sale of Parcels

  1, 2, 3, and 4 as set forth in Forms 2435, attached hereto as Exhibit “D” (collectively, the

  “Contract”).

         34.     The IRS breached its Contract with Gaga when it could not convey to Gaga the

  rights and interests of Everett Painting to Parcel 2 because Parcel 2 had already been sold at

  a Miami-Dade County tax auction and, therefore, the IRS had no rights or interests to sell.

         35.     The IRS further breached the Contract when it sold Parcels 1, 2, 3, and 4 to Gaga

  as a contiguous assemblage and accepted Gaga’s assemblage bid price of $800,000.00 when the

  assemblage of Parcels did not exist on the date of the IRS public auction.

         36.     As a consequence of the IRS’ default, Gaga has suffered damages in excess of

  $500,000.00.

         WHEREFORE, Plaintiff, GAGA OPPORTUNITY 2501 NW 79 STREET, LLC,

  demands judgment against Defendant, THE UNITED STATES OF AMERICA, for damages,

  attorneys’ fees and costs, and any other relief deemed just and proper in favor of Plaintiff.




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                      COUNT II – NEGLIGENT MISREPRESENTATION

         37.     GAGA readopts and realleges paragraphs 1 through 30 as if fully set forth herein.

         38.     This is an action for negligent misrepresentation.

         39.     The IRS made false statements of material facts to Gaga when it represented to

  Gaga that it had the right to sell Parcels 1, 2, 3 and 4 as an assemblage and the right to sell Parcel

  2 at all. It also misrepresented that the taxpayer, Everett Painting, had an ownership interest in

  Parcel 2 when in fact it had none.

         40.     The IRS should have known that its representations were false.

         41.     The IRS intended to induce Gaga to act on its misrepresentations when Gaga

  purchased the Parcels.

         42.     Gaga acted in justifiable reliance on the misrepresentations causing injury and

  damages to Gaga, in excess of $500,000.00.

         WHEREFORE, Plaintiff, GAGA OPPORTUNITY 2501 NW 79 STREET, LLC,

  demands judgment against Defendant, THE UNITED STATES OF AMERICA, for damages,

  attorneys’ fees and costs, and any other relied deemed just and proper in favor of Plaintiff.

                            COUNT III – BREACH OF 26 CFR 601.104

         43.     GAGA readopts and realleges paragraphs 1 through 30 as if fully set forth herein.

         44.     This is an action for breach of 26 CFR 601.104 of the Code of Federal

  Regulations.

         45.     Pursuant to 26 CFR 601.104:

                 If the Service sells property, and it is subsequently determined that the
                 taxpayer had no interest in the property or that the purchaser was misled
                 by the Service as to the value of the taxpayer’s interest, immediate action
                 will be taken to refund any money wrongfully collected if a claim is made
                 and the pertinent facts are present.


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         46.     As set forth more fully herein, the IRS (or “the Service” as that term is used in 26

  CFR 601.104) sold the taxpayer's, Everett Painting’s, interests and rights to Parcels 1, 2, 3, and

  4 as a contiguous assemblage to Gaga at the IRS’ public tax auction sale on May 14, 2020.

         47.     After the IRS sold the Parcels to Gaga, Gaga learned that Everett Painting’s

  interest in Parcel 2 had already been sold five (5) days earlier to another party at a Miami-Dade

  County tax auction. Consequently, the taxpayer had no interest in Parcel 2 when the IRS

  attempted to sell the taxpayer’s interest in Parcel 2 to Gaga.

         48.     Gaga was misled by the IRS as to the value of the taxpayer’s interest when it

  represented that the taxpayer owned Parcel 2 at the time of the sale (which it did not) and

  nevertheless advertised the sale of the four (4) parcels (including Parcel 2) as part of an

  assemblage. The sale of Parcel 2 prior to the IRS’ tax auction not only destroyed the assemblage

  value but diminished the value of the remaining Parcels because the parcels were worth far more

  as an assemblage of properties than as individual parcels.

         49.     Gaga is entitled to a refund of its payment of $800,000.00 pursuant to 26 CFR

  601.104 because Gaga’s funds were based on the value of the assemblage of the four (4)

  parcels, only three (3) of which were owned by the taxpayer, and an assemblage did not exist.

         50.     Gaga has made a claim for return of the funds wrongfully collected by the IRS,

  and the pertinent facts are present as set forth herein.

         WHEREFORE, Plaintiff, GAGA OPPORTUNITY 2501 NW 79 STREET, LLC,

  demands judgment against Defendant, THE UNITED STATES OF AMERICA, for damages,

  attorneys’ fees and costs, and any other relied deemed just and proper in favor of Plaintiff.

         Dated: June 2, 2020




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                   SANCHEZ-MEDINA, GONZALEZ, QUESADA, LAGE, GOMEZ & MACHADO LLP
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                                  Respectfully submitted,

                                  SANCHEZ-MEDINA, GONZALEZ, QUESADA,
                                  LAGE, GOMEZ & MACHADO LLP
                                  Counsel for Plaintiff Gaga Opportunity
                                  201 Alhambra Circle, Suite 1205
                                  Coral Gables, Florida 33134
                                  Main Tel: 305-377-1000
                                  Direct Fax: 786-304-2216
                                  Toll Free: 855-213-4806
                                  E-mail:        Mmandler@smgqlaw.com
                                                 MGonzalez@smgqlaw.com
                                                 RWilliams@smqglaw.com

                                  By: /s/ Mitchell W. Mandler, Esq.
                                         Mitchell W. Mandler, Esq.
                                         Florida Bar No. 286893




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               SANCHEZ-MEDINA, GONZALEZ, QUESADA, LAGE, GOMEZ & MACHADO LLP
                               ATTORNEYS AT LAW │ SMGQLAW.COM
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                      EXHIBIT “A”
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                          EXHIBIT “B”
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                         EXHIBIT “C”
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                                  Mail-In Bid for Public Auction Sale
                                              Range Bid

   I, the undersigned, bid starting at the Minimum Bid of (Check which properties are being bid on)

   ___    1) $38,000.00 up to a maximum of $___________ on 2,050 sq. ft. retail outlet store
   building built in 1950 situated on 0.09 acre more commonly known as 2531 NW 79th St.,
   Miami, FL 33147. Folio No. 30-3110-048-0090.

   ___   2) $25,500.00 up to a maximum of $__________ on 0.13 acre vacant, commercial lot
   more commonly known as Folio No. 30-3110-048-0100.

   ___    3) $290,000.00 up to a maximum of $__________ on 2,283 sq. ft. office building built
   in 1949 situated on 0.5 acre more commonly known as 2501 NW 79th St., Miami, FL 33147.
   Folio No. 30-3110-048-0110.

   ___  4) $600.00 up to a maximum of $___________ on 0.05 acre vacant lot more commonly
   known as 2550 NW 79th Ter., Miami, FL 33147. Folio No. 30-3110-048-0120.

   ___    5) $354,100.00 up to a maximum of $___________ on all four properties listed above.

   offered for sale by public auction on May 14, 2019. I enclose my payment of at least 20% of my
   maximum bid: $____________, which is deposit of my bid and authorize the enclosed payment
   to be applied against the sale price if I am the successful bidder. The balance of the successful
   bid to be paid in full no later than June 14, 2019.

   I understand that this mail-in bid must be in auctioneer's possession at the time of sale to be
   included in the sale. Increments are at the discretion of the auctioneer as dictated by the live
   bidding.

   I understand that this mail-in bid must be in auctioneer's possession at the time of sale to be
   included in the sale. NOTE: the form of payment and/or bid must comply with the Terms of
   Payment as stated on the Notice of Public Auction Sale. (DO NOT SEND CASH)

   Please provide (Print) Bidder Information Below:

   Name ___________________________

   Phone Number_____________________

   Cell Number_______________________

   Address__________________________________________________

   E-Mail Address _____________________

   Fax Number________________________
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   By submitting this mail-in bid, I understand that: This is a mail-in bid for a public auction sale,
   and it is not a sealed bid sale; I must comply with all other conditions as stated in the Notice of
   Public Auction Sale. There are advantages that I am forgoing by not being present at the actual
   sale, such as inspecting the property, hearing any statement by the taxpayer or lien holders, and
   engaging in open, competitive bidding.

   SIGNATURE OF BIDDER: ___________________________________

   Submit the bid in a securely sealed envelope with your name, address and date of sale on the
   upper left corner of the envelope. Address to submit MAIL-IN BID and Deposit:

   Internal Revenue Service
   Attn.: Paul Reed, PALS
   1899 Powers Ferry Rd., Ste. 250
   Atlanta, GA 30339

   Annotate the envelope with the following statement: “MAIL-IN BID - TO BE OPENED BY
   PALS ONLY”

   NOTICE TO ALL MAIL-IN BIDDERS – If you submit a Mail-In Bid, then decide to
   withdraw your bid prior to the sale, you must make notice of such a withdrawal in
   writing, to the Property Appraisal & Liquidation Specialist (PALS) employee. This may
   be in the form of an Email or a written letter and mailed, Emailed or faxed to the PALS.
   Any withdrawal must be RECEIVED by the PALS PRIOR to the subject sale. The PALS
   are field employees and do not always have immediate Email or US Mail access –
   therefore, it is the responsibility of the BIDDER to ensure that the notice of withdrawal is
   actually RECEIVED by the PALS prior to the sale – the fact that the bidder just sent a
   withdrawal prior to a sale date/time is not sufficient. If the PALS does not personally
   receive written notice of the withdrawal prior to the sale, the bid will be considered as a
   valid bid. On a deferred payment sale, failure by the Bidder to pay any remaining
   balance due on the bid in accordance with the Notice of Public Auction Sale may result
   in the Bidder forfeiting the initial bid deposit.

   (IRS USE ONLY)
   Total amount of successful bid $_______________
   Deposit received $_______________
   Balance received Date_________ $_______________
   Certificate of Sale issued Date_________
   Signature/Title _______________________________________
   RETURN OF REMITTANCE TO UNSUCCESSFUL BIDDER
   The deposit submitted with this bid was returned by Mail on ____________,2019.
   Signature/Title ________________________________________
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                           EXHIBIT “D”
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                          EXHIBIT “E”
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               DEPARTMENT OF THE TREASURY INTERNAL REVENUE
               SERVICE
               7840 SW 6 COURT
               PLANTATION FL 33324
USPS.com® - USPS Tracking® Results                                     Page 1 of 3
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  USPS Tracking                        FAQs  (https://www.usps.com/faqs/uspstracking-faqs.htm)
                                   ®




                                  Track Another Package            +


                                                                                           Remove      
  Tracking Number: 420333249202890120765803196167

  Your item was delivered to the front desk, reception area, or mail room at 11:12 am on
  March 25, 2019 in FORT LAUDERDALE, FL 33324.




   Delivered
  March 25, 2019 at 11:12 am
  Delivered, Front Desk/Reception/Mail Room
  FORT LAUDERDALE, FL 33324

  Get Updates   




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    Text & Email Updates


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    Return Receipt Electronic


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    Tracking History


    March 25, 2019, 11:12 am
    Delivered, Front Desk/Reception/Mail Room
    FORT LAUDERDALE, FL 33324
    Your item was delivered to the front desk, reception area, or mail room at 11:12 am on March 25,
    2019 in FORT LAUDERDALE, FL 33324.




https://tools.usps.com/go/TrackConfirmAction?tLabels=420333249202890120765803196...            4/22/2019
USPS.com® - USPS Tracking® Results                                     Page 2 of 3
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    March 24, 2019, 2:19 am
    Departed USPS Regional Facility
    MIAMI FL DISTRIBUTION CENTER



    March 23, 2019, 12:23 am
    Arrived at USPS Regional Facility
    MIAMI FL DISTRIBUTION CENTER



    March 22, 2019, 11:08 pm
    Accepted at USPS Regional Origin Facility
    MIAMI FL INTERNATIONAL DISTRIBUTION CENTER



    March 18, 2019
    Pre-Shipment Info Sent to USPS, USPS Awaiting Item




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    Product Information



                                          See Less   




                   Can’t find what you’re looking for?
             Go to our FAQs section to find answers to your tracking questions.


               FAQs (https://www.usps.com/faqs/uspstracking-faqs.htm)




https://tools.usps.com/go/TrackConfirmAction?tLabels=420333249202890120765803196...   4/22/2019
USPS.com® - USPS Tracking® Results                                     Page 3 of 3
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         The easiest tracking number is the one you don't have to know.

  With Informed Delivery®, you never have to type in another tracking number. Sign up to:

  • See images* of incoming mail.

  • Automatically track the packages you're expecting.

  • Set up email and text alerts so you don't need to enter tracking numbers.

  • Enter USPS Delivery Instructions™ for your mail carrier.



                                           Sign Up

                             (https://reg.usps.com/entreg/RegistrationAction_input?
  *NOTE: Black and white (grayscale) images show the outside, front of letter-sized
                            app=UspsTools&appURL=https%
  envelopes and mailpieces that are processed through USPS automated equipment.




https://tools.usps.com/go/TrackConfirmAction?tLabels=420333249202890120765803196...   4/22/2019
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                          EXHIBIT “F”
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